      Case 2:18-cr-00422-DJH Document 519 Filed 04/08/19 Page 1 of 2



 1
 2
 3
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-18-00422-001-PHX-SMB
10                 Plaintiff,                         ORDER
11   v.
12   Michael Lacey,
13                 Defendant.
14
15
16         Upon Defendant Michael Lacey’s Unopposed Motion to Extend Time for Filing
17   Reply in Further Support of Defendant Lacey’s Motion to Amend Conditions of Release,
18   and good cause appearing,
19         IT IS HEREBY ORDERED extending the otherwise applicable time for filing
20   Defendant Lacey’s reply in further support of his motion to amend conditions of release
21   seven (7) days to be due on or before April 16, 2019.
22         Dated this 8th day of April, 2019.
23
24
25
26
27
28
     Case 2:18-cr-00422-DJH Document 519 Filed 04/08/19 Page 2 of 2



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                        -2-
